11344(Rev. 11/04) Case 2:14'0\/'0215%©&1<£ (,WUHEEIFG 04/11/14 Pa-Qe 1 Of 8 APPENDIXH

l`he JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service ofpleadin s or other papers as required by law, except as provic
)y local rules of court. This form, approved by the Judicia| Conference l)f the United States in September 1974, is required for e use of the Clerk of Court for the purpose of initiat
he civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF Tl-lE FORM.)

[. (a) PLAINTIFFS FRED HARRISON DEFENDANTS BANK OF AMERICA, N.A.; BANK OF
AMERICA CORPORATION; FIA CARD SERVICES, N.A.

(b) County of Residence of First Listed Plail'tiff _WX_
(EXCEPT IN U-S~ PLAINTIFF CASES) County of Residence of First Lised Defendant PHILADELPHIA
(TN U.S. PLAINTIFF CASES ONLY)

NOTE; IN LAND CONDEMNATION CASES, USE THE LOCAT]ON OF THE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

, . , LAND INVOLVED.
(C) Attorney S (Fln‘n Name, Address, and Telephone Number) Cary L. Flitter, Esq., and
Theodore E. Lorenz, Esq., Flitter Lorenz, P C,, 450 N Narberth Avenue, Suite 101, Narberth,
PA 19072, (610) 822~0782
[I. BASIS OF JURISDICTION (Place an “X" in One Box On|y) III. CITlZENSHIP OF PRINCIPAL PARTIES(PIace an “X" in One Box for Plaintiff
(For Diversity Cases On|y) and One Box for Defendant)
I:]l U.S. Govemment E 3 Federal Question PTF DEF PTF DEF
P|aintiff (U.S. Government Not a Party) Citizen ofThis State ml l:l 1 Inco,-porated ,, r principal place \:\ 4 I:]4
of Business In This State
2 _ , Citizen of Another State 2 2 , , 5 5
m U.S, Government m 4 DIV€FSH)/ m n Incorporated an d Pnncipa| Place cl m
Defendanl (1ndicate Citizenship of Parties in Item III) ofBusiness In Another State
Citizen or Subject ofa l:] 3 [] 3 Foreign Nation [:l 6 [:] 6
l=oreign Coumry
[V. NATURE OF SUIT (Place an "X"in One Box (]'nlg.r
CONTR.'\CT TQB‘{`Q FORFEITURE/PENALTY BANKRUPTCY D'I'HER S']`)\'I'UTES
3 1101"Surance PERSONAL lNJuRv PERSONAL 1NJuRY |:l 610 Agriwlwre l:| 422 APP€a128 USC 153 [] 400 stare Reapponionmem
:] 120 Marine I:l 310 Airplane IJ 362 Personal Injury - I:I 620 Other Food & Drug ]:I 423 Withdrawal m 410 Antitrust
:] 130 Miller Act l:] 315 Airplane Product Med. Malpractice I:l 625 Drug Related Seizure 28 USC 157 ]:l 430 Banks and Banking
j 140 Negotiable Instrument Liability El 365 Personal Injury - of Property 21 USC 881 l:l 450 Commerce
:I 150 Recoverv of Ovemavment I:] 320 Assault. Libel & Product Liabilitv l:l 630 Liauor Laws PR()PFRTV RlGHTS n 460 Denortation
& Enforcement of Judgment Slander I:] 368 Asbestos Personal I:I 640 R R. & Truck I:] 820 Copyrights m 470 Racketeer lnfluenced and
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:] 152 Recovery of Defaulted Liability Liabi|ity [:l 660 Occupational D 840 Trademark I:] 480 Consumer Credit
Student Loans [:I 340 Marine PERSONAL PROPERTY Safety/Health n 490 Cable/Sat TV
(Exc|, Veterans) [:I 345 Marine Product I:I 370 Other Fraud [:I 690 Ol|'¢cr L__] 810 Selective Service
:I 153 Recoverv of OverDavment Liabilitv I:\ 371 Truth in Lendine LAB_QB. SOCIAL SECURlTY l:'l 850 Securities/Commodities/
of Veteran’s Benef'its l:l 350 Motor Vehic|e I:] 380 Other Personal [_] 710 Fair Labor Standards I:] 861 HIA (1395 ff`) Exchange
:I 160 Stockho|ders’ Suits m 355 Motor Vehicle Propeny Damage Act I:I 862 Black Lung (923) |:l 875 Customer Chal|enge
:l 190 Other Contract Product Liability n 385 Property Damage I:l 720 Labor/Mgmt. Relations I:I 863 DIWC/DlWW (405(§)) 12 USC 3410
:]195 Contraet Product Liabi|ity l:l 360 Other Personal Product Liability l:l 730 Labor/l\/[gml.Reporting I:I 864 SS[D Title XV1 E 890 Other Slatutory Actions
'_'1 196 Franchise Injury & Disclosure Act El 865 RSI (405(g)) g 891 Agricu|tura| Acts
REAL PRUPERTY ClVIL RIGHTS RISONER PETlTlONS [:] 740 Railwav Labor ACI FEDERAL TAX SUlTS n 892 Economic Stabilization Ac|
:| 210 Land Cundcmnntion I:I 441 Voting I:] 510 Motions to Vacate [:] 790 Other Labor Litigation n 870 Taxes (U.S Plaintiff I:I 893 Environmenta| Malters
j 220 Foreclosure E] 442 Employment Senlence [:] 791 Empl. Ret. lnc or Defendant) I:I 894 Energy Allocation Act
j 230 Rent Lease & Ejectmenl I:\ 443 Housing/ Habeas Corpus: Security Act l:l 871 lRS~Third Party m 895 Fr€€dOm Oflnfofmafil)n
:] 240 Torts to Land Accommodations 3530 General 26 USC 7609 Act
:] 245 Tort Product Liability l:] 444 Welfare j 535 Death Penalty I:] 900Appea1 of Fee Determinatiol
'_`l 290 All Other Real Property I:] 445 Amer. w/Disabi|ities - 540 M_andar_nus & Other Under Equal Access
Employment 550 C1V11 nghts to Justice
I:] 446 Amer. w/Disabilities - IJ 555 Prison Condition L',:I 950 Constitutionality of
Other State Statutes
m 440 Other Civil Rights
V. ORIGIN (Place an “X” in One Box On|y) Transferred from Appeal to District
El Original I:IZ Removed from I:I3 Remanded from []4 Reinstated or I:I5 another district []6 Mu|tidistrict I:]7 Judge from Magistrate
Proceeding State Court Appellate Court Reopened (specify) Litigation Judgment

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
Vl. CAUSE OF ACTION

 

Brief description of cause: TCPA, 47 U.S.C. § 227

 

Vll. REQUESTED lN I:\ Cl-{ECK IF THlS lS A CLASS ACTION DEMAND $ CHECK YES only ifdemanded in complaint
COMPLAINT: uNDER F,R.C.P. 23 JURY DEMAND: |X| Yes |:| No.

 

VIlI. RELATED CASE(S) Fetter v. Bank of America, et al.
IF ANY (See instructions): JUDGE Brody DOCKET NUMBER 14-cv-02046

)A']`E WRE Ol" A`FFORNEY OF ECDR.D
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RECEIPT # AMOUNT APPLYI`NG IFP JUDGE MAG. JUDGE

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APPENDI.X I

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

FRED HARRISON : CIVIL ACTION
V.

BANK OF AMERICA, N.A.; BANK OF AMERICA : NO.
CORPORATION; FIA CARD SERVICES, N.A. :

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff Shall complete a case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendantsl (See § 1103 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a case management track designation form specifying the track to
Which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus - Cases brought under 28 U.S.C. §2241 through §2255. ( )
(b) Social Security - Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits ( )

(c) Arbitration - Cases required to be designated for arbitration under Loca| Civil Rule 53.2. ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
exposure to asbestos ( )

(e) Special Management ~ Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management
by the court. (See reverse side of this form for a detailed explanation of special

 

 

 

 

 

 

management cases) ( )
S/tandard Management- Cases that do not fall into any one of the other tracks. ( X )
(D?//// /‘/ MZ/\_/) ANDREW M. Mle
Dater Attorney at Law Attorney for Plaintiff
§610) 822-0782 (610) 667-0552 AMILZ@consumerslaW.com
Telephone Fax Number E-Mail Address

(Civ.660) 10/02

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uNiTED STATES DiSTRicT COuRT APPENDix F

FOR THE EASTERN DISTRICT OF PENNSYLVANIA_ DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.

Address of Plaintiff: 412 Selma Street, Philadelphia, PA 19116

Address of Defendant; 4 Penn Center Plaza, 1600 J.F.K, Boulevard, Philade|phia. PA 19103

 

Place ofAccident, Incident or Transaction: 412 Selma Street Phi|adelphia, PA 19116
(Uxe Reverse Sia'e For Addi`li`ona/ Space)

 

Does this civil action involve a nongovemmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?
(Attach two copies of the Disclosure Statement Fonn in accordance with Fed.R.Civ.P. 7.1(a) Yes I:I No g

 

Does this case involve multidistrict litigation possibilities? yes I:I No E
RELATED CASE, IF ANY.'

Case Number: /'Y. ’C' l/ "" M@'z/é Judge HfB/~ Date '[`crmiizated: "__`"~
Civil cases are deemed related when yes is answered to any ofthe following questions=

1. 1s this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?

Yes I:l N o E
2. Does this case involve the same issue of fact or grow out ofthe mme transaction as a prior suit pending or within one year previously terminated
action in this couit? Yes I:l No >I<

3. Does this case involve the validity or infringement ofa patent already in suit or any earlier numbered case pending or within one year previously

terminated action in this court? Yes I:I No g

 

CIVIL: (Place g in ONE CATEGORY ONLY)

A. Federal Question Cases.' B. Diversity Jurisdz'ction Cases:

l. I:] lndemnity Contract, Marine Contract, and All Other Contracts 1. m lnsurance Contract and Other Contracts
2. l___] FELA 2. [l Airplane Personal Injury

3. [l .lones Act-Personal Injury 3. l:l Assault, Defamation

4. I:I Antitrust 4. l:l Marine Persona| Injury

5. I:I Patent 5. L__I l\/lotor Vehicle Personal Injury

6. I:I Labor-ManagementRelations 6. m Other Personal Injury (P|ease specify)
7. El Civil Rjghts 7. I:I Products Liabi|ity

8. l:l Habeas Corpus 8. l:l Products Liabi|ity (Asbestos)

9. I:I Securities Act(s) Cases 9_ m All other Diversity Cases

10. I:l Social Security Review Cases (Please speeify)

11, g All other Federal Question Cases
(Please specify)TCPA, 47 U.S.C. § 227
ARBITRATION CERTIFICATION
(Check appropriate Category)
1, ANDREW M. MILZ , counsel of record do hereby ceitify:

m Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil
action case exceed the sum of$150,000.00 exclusive of interest and costs;

§ Relicl' oiher than monetary d

ainagc ` sought
DATE: '/{%{/"_/ M///\ \_/ 207715

Attorney-at-Law Attorney I.D.

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

l certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court except
as noted above.

DATE:
civ.609 (4/03) Attorney-at-Law Attorney I.D.

 

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

FRED HARRISON CIVIL ACTION
412 Selma Street
Philadelphia, PA 19116

Plaintiff

vs. NO.

BANK OF AMERICA, N.A.
4 Penn Center Plaza, 1600 J...FK Boulevard
Philadelphia, PA 19103

and

BANK OF AMERICA CORPORATION
4 Penn Center Plaza, 1600 J.F.K. Boulevard
Philadelphia, PA 19103

and

FIA CARD SERVICES, N.A.
4 Penn Center Plaza, 1600 J.F.K. Boulevard
Philadelphia, PA 19103

 

 

Defendants
MT_
I. INTRODUCTION
1. This is an action for damages brought by an individual consumer for violations of

the Telephone Consumer Protection Act, 47 U.S.C. § 227 (hereinafter “TCPA”).
2. The TCPA broadly prohibits any person from placing calls and text messages
using an automated telephone dialing system or artificial or prerecorded voice to a cellular phone.
3. Defendant harassed Plaintiff With repeated autodialed collection calls to

Plaintiff’ s cell phone, in violation of the TCPA.

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II. JURISDICTION AND VENUE

4. This Court has federal question subject matter jurisdiction over Plaintiff s TCPA
claims pursuant to 28 U.S.C. § 1331; Mims v. Arrow Fl`n. Ser., Inc., 132 S.Ct. 740 (2012).

5. Venue in this Court is proper in that Plaintiff resides here, the conduct complained
of occurred here, and the Defendant transacts business here.

III. PARTIES

6. Plaintiff Fred Harrison is a natural person who resides in Philadelphia, PA at the
address captioned.

7. Defendant Bank of America, N.A. is a national association With its main office in
Charlotte, NC, and a branch office at 4 Penn Center Plaza, 1617 JFK Boulevard, Philadelphia, PA
19103.

8. Defendant, Bank of America Corporation is a Delaware corporation that
maintains a corporate headquarters in Charlotte, NC, and operates a branch office at 4 Penn
Center Plaza, 1617 JFK Boulevard, Philadelphia, PA 19103.

9. Defendant FIA Card Services, N.A. is a national association that maintains
corporate headquarters in Wilmington, DE, and is a Wholly-owned subsidiary of Defendant Bank
of American Corporation, With a branch office at 4 Penn Center Plaza, 1617 JFK Boulevard,
Philadelphia, PA 19103.

10. Defendants, Bank of America, N.A., Bank of America Corporation, and FIA Card
Services, N.A. are collectively referred to herein as (“Bank of America” or “Defendants”).

11. Bank of America at all relevant times Was, a “person” as defined by 47 U.S.C. §

153(39).

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IV. STATEMENT OF CLAIM

12. Plaintiff Fred Harrison has a cellular telephone number (ending in 8729) which he
carries on his person and regularly uses.

13. At all relevant times, this phone number Was assigned to a cellular telephone
service Plaintiff used and paid for.

14. Bank of America placed calls to Plaintiff’ s cellular telephone number in the effort
to collect a Bank of America credit account.

15. The alleged credit account Was either a home mortgage or credit card, both of
Which Were used for primarily personal, family or household use.

16. Bank of America placed hundreds of calls to Plaintiff’ s cell phone.

17. When answered, there Would be a long pause or a recording, consistent With an
automated telephone dialing system. Often, Plaintiff Would say “hello, hello, hello ...” but there
Would be no response.

18. It is believed, and therefore averred, that the calls made by Bank of America to
Plaintiff’ s cell phone Were made using either an automatic telephone dialing system, as that term
is defined in 47 U.S.C. § 227(a)(1), or an artificial or prerecorded Voice,

19. Bank of America did not have the “prior express consent” that is required by the
TCPA.

20. Plaintiff told Bank of America to stop calling his cell phone, but the calls did not
cease.

21. These telephone calls Were not made for “emergency purposes,” as defined by the

Federal Communication Commission in 47 C.F.R. § 64.1200.

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22. On December 6, 2007, the Federal Communications Commission (“FCC”) issued
a citation to Bank of America for violations of the TCPA, admonishing Bank of America that “[i]f
after receipt of this citation, you or your company violate the Communications Act or the
Commission’s rules in any manner described herein, the Commission may impose monetary
forfeitures not to exceed $11,000 for each such violation or each day of a continuing violation.”
FCC Citation to Bank of America, NA, Dec. 6, 2007, available at
http://fjallfoss.fcc.gov/edocs_public/attachmatch/DOC-302755A1.pdf

23. Notwithstanding its prior violations and FCC’s citation, Defendants continued to
place prohibited calls to Plaintiff’s cell phone Without his prior express consent.

24. Defendant Willfully placed these auto-dialed calls to Plaintiff Without Plaintiff’s
consent

COUNT I - TELEPHONE CONSUMER PROTECTION ACT

25. Plaintiff repeats the allegations contained above as if the same Were here set forth
at length.

26. Defendant has violated the TCPA, 47 U.S.C. § 227 et seq., and its implementing
Regulation at 47 C.F.R. § 64.1200 et seq., by making any ca11 (other than a ca11 made for
emergency purposes or made With the prior express consent of the called party) using any
automatic telephone dialing system or an artificial or prerecorded voice to any telephone number
assigned to a cellular telephone service. 47 U.S.C. § 227(b)(1)(A)(iii).

27. Plaintiff is entitled, under the TCPA, to statutory damages of not less than
$500.00 nor more than $1,500.00 for each autodialed or artificial/pre~recorded telephone call to

his cellular phone.

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WHEREFORE, Plaintiff respectfully requests that judgment be entered against
Defendant Bank of America, N.A., Bank of America Corporation and FIA Card Services, N.A.
for the following:

(a) Statutory damages for each call, pursuant to the TCPA;
(b) A declaration that Defendant’s calls violate the TCPA;
(b) Such other and further relief as the Court shall deem just and proper.
V. DEMAND FOR JURY TRIAL
Plaintiff demands a trial by jury as to all issues so triable.

Respectfully submitted:

Date: 11 l /,J{:/ //\l\..//

CARY L. FLITTER
THEODORE E. LOREN\
ANDREW M. MILZ

FLITTER LORENZ, P.C.

450 N. Narberth Avenue, Suite 101
Narberth, PA 19072

(610) 822-0782

Attorneys for Plaintiff

